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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


 BOYLE, et al.,

                        Plaintiffs,

        v.
                                                        Case No. 8:25-cv-1628-MJM
 TRUMP, et al.,

                        Defendants.


                                      NOTICE OF APPEAL

        Defendants—President Donald J. Trump, in his official capacity as President of the United

States; Scott Bessent, in his official capacity as Secretary of the Treasury; Russell Vought, in his

official capacity as Director of the Office of Management and Budget; and Peter A. Feldman, in

his official capacity as Acting Chairman of the U.S. Consumer Product Safety Commission—

respectfully provide notice that they hereby appeal to the United States Court of Appeals for the

Fourth Circuit the Court’s Order (ECF No. 25) and accompanying Memorandum Opinion (ECF

No. 24) entered on June 13, 2025, which granted Plaintiffs’ motion for summary judgment and

denied Defendants’ cross-motion for summary judgment.


Dated: June 16, 2025                          Respectfully submitted,

                                              YAAKOV M. ROTH
                                              Principal Deputy Assistant Attorney General
                                              Civil Division

                                              ERIC J. HAMILTON
                                              Deputy Assistant Attorney General
                                              Civil Division, Federal Programs Branch

                                              /s/ Abigail Stout
                                              ABIGAIL STOUT
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